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14
                    IN THE UNITED STATES DISTRICT COURT
15                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                      SAN FRANCISCO / OAKLAND DIVISION
16
     CAROLYNN TAYMUREE, an                         Case No. 4:16-cv-06138-YGR
17   individual, and ZOHRA
     RICHARDSON, an individual,
18                                                 JOINT STIPULATION TO STAY
                 Plaintiff,                        CASE PENDING OUTCOME OF
19                                                 RELATED SUPERIOR COURT
           v.                                      ACTION
20
     NATIONAL COLLEGIATE
21   STUDENT LOAN TRUST 2007-2, a
     Delaware Statutory Trust;
22   TRANSWORLD SYSTEMS, INC., a
     California Corporation; PATENAUDE
23   & FELIX, A PROFESSIONAL
     CORPORATION, a California
24   corporation; and DOES 1 through 10,
     inclusive,
25
               Defendants.
26   ____________________
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                                Joint Stipulation to Stay Case
        Case 4:16-cv-06138-YGR Document 45 Filed 03/16/17 Page 2 of 2




 1

 2         Pursuant to the Stipulation entered by the parties at the hearing on March 7,
 3   2017, plaintiffs CAROLYNN TAYMUREE and ZOHRA RICHARDSON, by and
 4   through their attorney, James A. Michel, and Defendants, NATIONAL
 5   COLLEGIATE STUDENT LOAN TRUST 2007-2 (hereinafter “NCSLT”) and
 6   TRANSWORLD SYSTEMS, INC. (“TSI”), by and through their counsel, Damian
 7   P. Richard, and PATENAUDE & FELIX, APC (“P&F”) by and through its counsel,
 8   Jeffrey W. Speights, hereby jointly stipulate to stay this instant, above-referenced
 9   federal case pending the outcome of the underlying state court action, NCSLT v.
10   Carolynn Swanson and Zohra Taymuree, Sup. Ct. Case No. L15-03053, currently
11   pending in the Superior Court of California in and for the County of Contra Costa.
12

13
     Dated: March 16, 2017                                   /s/ Damian P. Richard____
                                                             Attorney for Defendants
14
                                                             NCSLT and TSI

15
     Dated: March 16, 2017                                   /s/ Jeffrey W. Speights____
                                                             Attorney for Defendant
16
                                                             P&F

17
     Dated: March 16, 2017                                   /s/ James A. Michel
                                                             JAMES A. MICHEL
18
                                                             Attorney for Plaintiffs

19                           Attestation pursuant to L.R. 5-1(i)(3)
20         The undersigned attests that concurrence in the filing of this document has
21   been obtained from each of the other Signatories, which shall serve in lieu of their
22   signatures on the document.
23
     Dated: March 16, 2017                                   /s/ Damian P. Richard____
24
                                                             Attorney for Defendants NCSLT
                                                             and TSI
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                                   Joint Stipulation to Stay Case
